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  i\O 91 (Rev. 11/11) Criminal Complaint


                                       UNITED STATES DISTRICT COURT                                                         FILED
                                                                  for the
                                                                                                                   February 10, 2025
                                                       Western District of Texas                                 CLERK, U.S. DISTRICT COURT
                                                                                                                 WESTERN DISTRICT OF TEXAS
                     United States of America                        )                                                      Fidel Morales
                                                                                                             BY: ________________________________
                                V.                                   )                                                               DEPUTY
                                                                     )      Case No.
                        Nancy Dominguez
                               &                                     )
                       Hector Ruben Rojas                            )
                                                                     )
                                                                     )
                                                                                           EP:25-M-00531-MAT
                             De/e11dw11M


                                                   CRIMINAL COMPLAINT
            I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
  On or about the date(s) of                     02/07/2025 _____ in the county of ___                      EI_P_ a_s_o____ in the

        Western                          Texas
                          District of -------                    , the defendant(s) violated:

               Code Sec1ion                                                   Offense Descriplion
   21 USC 952a                                    knowingly and intentionally import into the United States from the Republic of
                                                  Mexico a quantity of methamphetamine.

                                                  knowingly and intentionally conspire to import into the United States from the
   21 USC 963                                     Republic of Mexico a quantity of methamphetmaine , to wit; approximately
                                                  213.3g (gross weight) of methamphetamine, a Schedule II Controlled
                                                  Substance;


            This crimina l complaint is based on these facts:




            rlf Continued on the attached sheet.
                                                                                 �        �{\1) 1/\._/-
Complaint sworn to telephonically on                                                              1
                                                                                     ·3:r,�Co111plainant     _____
  February 10, 2025
____________        at __________
                          02:00 PM and signed                                                            ·s signature
electronically. FED.R.CRIM.P. 4.1(b)(2)(A)                                                      Marilen Sommers
                                                                                                Printed 11a111e and tirle

   Sworn to before me and signed in my presence.


   Date:        02/10/2025                                                  --- -----------------
                                                                                                  Judge ·s signature

   City and state:                         El Paso, Texas                                        Miguel A. Torres
                                                                                                Printed 11a111e and title
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